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 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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13   ASSOCIATION OF AMERICAN                                 2:16-cv-02441 MCE-EFB
     PHYSICIANS & SURGEONS, INC., and
14   EILEEN NATUZZI, M.D.,                                   [PROPOSED] ORDER GRANTING
                                                             MOTION TO DISMISS
15                                          Plaintiff,
                                                             Date:        September 6, 2018
16                  v.                                       Time:        2:00 p.m.
                                                             Courtroom: 7
17                                                           Judge:        Hon. Morrison C. England, Jr.
     SHELLY ROUILLARD, in her official                       Trial Date: None Set
18   capacity as the Director of the California              Action Filed: October 13, 2016
     Department of Managed Health Care,
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                                         Defendants.
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22         On September 6, 2018, the Court heard Defendant’s motion to dismiss. The Court has

23   considered the motion, Plaintiffs’ opposition thereto, and all of the papers, evidence and

24   arguments submitted in support of and in opposition to the motion.

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                                        [Proposed] Order Granting Motion to Dismiss (2:16-cv-02441 MCE-EFB)
     Case 2:16-cv-02441-TLN-EFB Document 34-3 Filed 06/21/18 Page 2 of 2


 1        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT:
 2        (1)    Plaintiffs’ request for declaratory judgment and an injunction is denied;
 3        (2)    all claims against Defendant are dismissed with prejudice;
 4        (3)    the amended complaint is dismissed with prejudice; and
 5        (4)    judgment is entered in favor of defendant.
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     Dated:________________________                    _________________________________
 7                                                     The Honorable Morrison C. England, Jr.
                                                       United States District Court Judge
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                                     [Proposed] Order Granting Motion to Dismiss (2:16-cv-02441 MCE-EFB)
